                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

BRIANNA THOMAS,                               )
                                              )      Case No. 4:21-cv-610
       Plaintiff,                             )
                                              )      Removed from the Circuit Court of
v.                                            )      Jackson County, Missouri, at Kansas
                                              )      City, Case No. 2016-CV24680
H&M HENNES & MAURITZ, L.P.,                   )
                                              )      JURY TRIAL DEMANDED
       Defendant.                             )

                        NOTICE OF REMOVAL OF CIVIL ACTION

       Defendant H&M Hennes & Mauritz, L.P. (“H&M” or “Defendant”), by and through the

undersigned counsel, Baker Sterchi Cowden & Rice LLC, and with full reservation of all

defenses, objections, and exceptions, including but not limited to service, jurisdiction, venue, and

statute of limitations, hereby removes the above-entitled civil action, and all claims and causes of

action therein, from the Circuit Court of Jackson County, Missouri, to the United States District

Court for the Western District of Missouri, Western Division, pursuant to 28 U.S.C. §§ 1331,

1367, 1441, and 1446. As grounds for removal, H&M asserts the following:

I.     THE STATE COURT ACTION

       1.      On November 25, 2020, Plaintiff Brianna Thomas (“Plaintiff”) filed but did not

serve a petition for damages (the “Petition”) against H&M in the Circuit Court of Jackson

County, Missouri at Kansas City, titled Brianna Thomas v. H&M Hennes & Mauritz L.P., Case

No. 2016-CV24680. The Petition is included within Exhibit A, attached hereto.

       2.      On July 27, 2021, Plaintiff served the Petition on H&M.

       3.      In essence, Plaintiff alleges that H&M employees discriminated against her on

account of her race while she was shopping in an H&M store in July of 2017. Specifically,




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Plaintiff alleges she was “subjected to race discrimination and harassment by Defendant in the

following ways including, but not limited to subjecting [her] to unwanted, and other offensive

treatment such as constant surveillance while being a potential customer and refusal to allow

[her] to be an ordinary customer perusing consumer goods.” Petition, ¶ 55, Exhibit A. Plaintiff

further alleges that H&M’s conduct “was adverse and damaging and caused [her] great

emotional upset” and that she is “frequently anxious, loses sleep, cannot focus for extended

periods of time, and is fearful of what else might happen to her.” Petition, ¶ 57, Exhibit A.

       4.        Plaintiff asserts claims for (1) race discrimination and harassment in violation of

42 U.S.C. § 1981, (2) retaliation in violation of 42 U.S.C. § 1981, (3) intentional infliction of

emotional distress, and (4) negligent hiring or retention. Petition, ¶¶ 52-74, Exhibit A. Plaintiff

seeks actual damages, compensatory damages, punitive damages, attorneys’ fees and costs, and

other equitable and legal relief as the Court deems appropriate and just. Petition, ¶¶ 58, 65, 69,

74, Exhibit A.

II.    JURISDICTION AND VENUE

This Court has original jurisdiction of this civil action because it arises under the laws of
the United States and therefore meets the removal requirements for Federal Question
Jurisdiction.

       1.        H&M may remove the above action to this Court pursuant to the provisions of 28

U.S.C. § 1331 because the Petition alleges violations of 42 U.S.C. § 1981, a federal statute.


       2.        An action “arises under” federal law within the meaning of § 1331 if federal law

creates the cause of action and/or grants federal jurisdiction to hear the case. Grable & Sons

Metal Prods., Inc. v. Darue Eng'g & Mfg., 545 U.S. 308, 312 (2005). The plaintiff's complaint

controls whether federal jurisdiction exists, and any federal issue must be an essential element of



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the plaintiff's cause of action. Franchise Tax Bd. of State of Cal. v. Constr. Laborers Vacation

Trust for S. Cal., 463 U.S. 1, 10-11 (1983).

       3.      It is evident from the face of the Petition that Plaintiff’s claims are brought under

42 U.S.C. § 1981, a federal statute over which federal courts properly exercise original

jurisdiction under 28 U.S.C. § 1331. Since the above-described action arises under 42 U.S.C.

§ 1981, this Court has original jurisdiction of this action without regard to the amount in

controversy, or diversity of citizenship. The action may therefore be removed to this Court

pursuant to 28 U.S.C. § 1441(a).

This Court has supplemental jurisdiction of Plaintiff’s remaining state law claims because
the state law claims are so related to Plaintiff’s 42 U.S.C. § 1981 claims that they form part
of the same case or controversy and therefore meet the removal requirements for
Supplemental Jurisdiction.

       4.      Under 28 U.S.C. § 1367(a), the Court may exercise supplemental jurisdiction over

“all other claims that are so related to claims in the action … that they form part of the same case

or controversy ….”

       5.      As set forth above, Plaintiff brings state law causes of action for intentional

infliction of emotional distress and negligent hiring and retention along with her federal

discrimination and harassment and retaliation claims. Each of Plaintiff’s causes of action are

based on the same factual allegations stemming from the alleged discrimination she experienced

by H&M. Plaintiff also seeks the same relief for her state law claims as for her federal claims.

Accordingly, this Court has supplemental jurisdiction over Plaintiff’s state law claims because

they form part of the same case or controversy as Plaintiff’s 42 U.S.C. § 1981 claims.

Venue is proper in this Court as it embraces the place where the state court action is
currently pending.



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       Venue is proper in this Court pursuant to 28 U.S.C. § 1441(a), which provides in

pertinent part that “any civil action brought in a State court of which the district courts of the

United States have original jurisdiction, may be removed by the defendant . . . to the district

court of the United States for the district and division embracing the place where such action is

pending.” The Circuit Court of Jackson County, Missouri, where the case is currently pending,

is a state court within the Western District of Missouri. Indeed, removal is proper under 28

U.S.C. § 1441 where this Court has original subject-matter jurisdiction over an action.

III.   H&M HAS SATISFIED ALL APPLICABLE PROCEDURAL REQUIREMENTS
       FOR REMOVAL

       1.      This Notice of Removal is properly directed to this Court pursuant to 28 U.S.C. §

1446(a), as it is the United States District Court embracing the Circuit Court of Jackson County,

Missouri, where Plaintiff’s action is currently pending. See 28 U.S.C. § 96.

       2.      Removal is timely under 28 U.S.C. § 1446(b). Although Plaintiff filed the state

court action on November 25, 2020, Plaintiff did not cause the Petition to be served on H&M

until July 27, 2021. Therefore, this Notice of Removal is brought within 30 days of service upon

H&M as required by 28 U.S.C. § 1446(b).

       3.      In accordance with 28 U.S.C. § 1446(a), copies of all process and papers received

by H&M in the state court action have been attached to this Notice of Removal as Exhibit A.

       4.      Pursuant to 28 U.S.C. § 1446(d), H&M will promptly serve a copy of this Notice

of Removal upon all counsel of record and will file a copy of this Notice with the clerk of the

Circuit Court of Jackson County, Missouri at Kansas City. A copy of this Notice is attached

hereto as Exhibit B.




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IV.     CONCLUSION

        WHEREFORE, and for the forgoing reasons, Defendant H&M removes this action from

the Circuit Court of Jackson County, Missouri, respectfully requests that this Court proceed with

this lawsuit as if it had been originally filed in this Court, and that the Court grant H&M such

other relief to which it is justly entitled.

Dated: August 23, 2021

                                               Respectfully submitted,

                                               /s/ Elizabeth M. Miller
                                               Elizabeth M. Miller           MO # 70250
                                               BAKER STERCHI COWDEN & RICE LLC
                                               2400 Pershing Road, Suite 500
                                               Kansas City, MO 64108
                                               Telephone:     (816) 471-2121
                                               Facsimile:     (816) 472-0288
                                               emiller@bscr-law.com

                                               ATTORNEY FOR DEFENDANT


                                   CERTIFICATE OF SERVICE

        On the 23rd day of August, 2021, the forgoing was filed electronically using this Court’s

CM/ECF System, which sent a notice of electronic filing to all counsel of record, and also served

this document via U.S. Mail, postage prepaid, to the following:

        Gerald Gray II
        G. GRAY LAW, LLC
        104 West 9th Street, Suite 401
        Kansas City, MO 64105
        ggraylaw@outlook.com

        ATTORNEY FOR PLAINTIFF



                                                      /s/ Elizabeth M. Miller



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